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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
SARAH MERCADO,                       :         Civil No. 1:21-CV-01631
                                     :
              Plaintiff,             :
                                     :
              v.                     :
                                     :
DAVID W. SUNDAY, JR., in his         :
official capacity, and JOSH SHAPIRO, :
in his official capacity,            :
                                     :
              Defendants.            :         Judge Jennifer P. Wilson
                                     ORDER

     AND NOW, on this 17th day of May, 2022, for the reasons set forth in the

accompanying memorandum, IT IS ORDERED THAT:

     1. The motions to dismiss the complaint are DENIED. (Docs. 9, 14.)

     2. A telephonic status conference is scheduled for May 31, 2022, at 9:15

        a.m. to discuss the schedule for this case. Plaintiff’s counsel shall initiate

        the call to chambers at 717-221-3970 once all parties are on the line.

                                             s/Jennifer P. Wilson
                                             JENNIFER P. WILSON
                                             United States District Court Judge
                                             Middle District of Pennsylvania
